Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 1 of 8




      EXHIBIT 30
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 2 of 8
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 3 of 8
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 4 of 8
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 5 of 8
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 6 of 8
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 7 of 8
Case No. 1:13-cr-00392-CMA Document 249-31 filed 08/14/14 USDC Colorado pg 8 of 8
